Case 6:18-cv-00595-PGB-T_S Document 1 Filed 04/16/18 Page 1 of 9 PageID 1




                                               6:18-CV-00595-ORL-40-TBS
Case 6:18-cv-00595-PGB-T_S Document 1 Filed 04/16/18 Page 2 of 9 PageID 2
Case 6:18-cv-00595-PGB-T_S Document 1 Filed 04/16/18 Page 3 of 9 PageID 3
Case 6:18-cv-00595-PGB-T_S Document 1 Filed 04/16/18 Page 4 of 9 PageID 4
Case 6:18-cv-00595-PGB-T_S Document 1 Filed 04/16/18 Page 5 of 9 PageID 5
Case 6:18-cv-00595-PGB-T_S Document 1 Filed 04/16/18 Page 6 of 9 PageID 6
Case 6:18-cv-00595-PGB-T_S Document 1 Filed 04/16/18 Page 7 of 9 PageID 7
Case 6:18-cv-00595-PGB-T_S Document 1 Filed 04/16/18 Page 8 of 9 PageID 8
Case 6:18-cv-00595-PGB-T_S Document 1 Filed 04/16/18 Page 9 of 9 PageID 9
